Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 1 of 23          PageID #: 1761




                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE


 UNITED STATES OF AMERICA                    )
                                             )
       v.                                    )    1:15-cr-00040-JAW-09
                                             )
 AKEEN OCEAN                                 )


                        ORDER ON MOTION TO SUPPRESS

       Akeen Ocean, charged with one count of engaging in a conspiracy to distribute

 cocaine base, seeks to suppress statements he made to law enforcement officers

 during their investigation on the grounds that he was in custody during the

 interrogation and was never read his Miranda1 rights and that, in any event, his

 statements were not voluntary. The Court held an evidentiary hearing on May 18,

 2016, at which both the involved officers and Mr. Ocean testified and other record

 evidence was admitted. The Court denies the motion to suppress because it concludes

 that Mr. Ocean was not in custody during the police interview and that Mr. Ocean

 gave his statements voluntarily.

 I.    PROCEDURAL BACKGROUND

       On February 12, 2015, a federal grand jury indicted Akeen Ocean along with

 ten others, charging them with engaging in a conspiracy to distribute cocaine base.

 Indictment (ECF No. 3). Mr. Ocean pleaded not guilty to the charge on February 20,

 2015. Entry (ECF No. 74). On September 9, 2015, Mr. Ocean moved to extend the

 time for filing pretrial motions, Def.’s Mot. to Re-Open Pretrial Mots. Deadline (ECF


 1     Miranda v. Arizona, 384 U.S. 436 (1966).
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 2 of 23          PageID #: 1762




 No. 273), and moved to suppress evidence, the recovery of which he contended

 violated the United States and state of Maine constitutions. Def.’s Mot. to Suppress

 Statements Obtained in Violation of Def.’s Const. Rights (ECF No. 275).            On

 September 10, 2015, the Government moved to strike Mr. Ocean’s motion to suppress

 as untimely and failing to comply with Local Rule 147(a), Gov’t’s Mot. to Strike Def.’s

 Mot. to Suppress (ECF No. 276), and also objected to Mr. Ocean’s late filing and

 motion to reopen the pretrial motions deadline. Gov’t’s Obj. to Reopen Pretrial Mots.

 Deadline (ECF No. 277).

         On September 14, 2015, Mr. Ocean filed an amended motion, asking the Court

 to reset the pretrial motions deadline, Am. Def.’s Mot. to Re-Set Pretrial Mots.

 Deadline (ECF No. 280), and also submitted an amended motion to suppress. Am.

 Def.’s Mot. to Suppress Statements Obtained in Violation of Def.’s Constitutional

 Rights (ECF No. 281) (Def.’s Am. Mot.). On September 17, 2015, the Government

 objected to Mr. Ocean’s motion to reopen the pretrial motions deadline, Gov’t’s Obj.

 to Reopen Pretrial Mots. Deadline (ECF No. 283), and on September 28, 2015, the

 Government moved to strike Mr. Ocean’s amended motion to suppress. Gov’t’s Mot.

 to Strike Def.’s Am. Mot. to Suppress (ECF No. 288). On October 14, 2015, Mr. Ocean

 responded to the Government’s objection to the resetting of the pretrial motions

 deadline, Resp. to Gov’t’s Obj. to Re-Set Pretrial Mots. Deadline (ECF No. 310), and

 on October 15, 2015, Mr. Ocean responded to the Government’s motion to strike his

 motion to suppress. Reply to Gov’t’s Mot. to Strike Def.’s Mot. to Suppress (ECF No.

 312).



                                           2
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 3 of 23                        PageID #: 1763




        On December 18, 2015, the Court granted Mr. Ocean’s motion to reset the

 pretrial motions deadline, dismissed his original motion to suppress as moot, and

 denied the Government’s motion to strike Mr. Ocean’s motion to suppress and his

 amended motion to suppress.                 Order on Pending Matters (ECF No. 336).

 Subsequently, on January 15, 2016, the Government filed a response to Mr. Ocean’s

 amended motion to suppress. Gov’t’s Obj. to Def.’s Am. Mot. to Suppress (ECF No.

 355) (Gov’t’s Opp’n). Accompanying its response, the Government filed an affidavit

 of Detective Martin Podsiad, Aff. of Martin Podsiad (ECF No. 355-1) (Podsiad Aff.),

 an audio recording of an interview of Mr. Ocean conducted by law enforcement on

 September 4, 2014, (ECF No. 355-2), and the transcripts of that interview. 9/4/2014

 Interview of Akeen Ocean. (ECF Nos. 355-3, 355-4) (Tr.).

        On February 12, 2016, Mr. Ocean filed a motion to request a hearing on his

 motion to suppress, Def.’s Mot. to Request Hr’g on Mot. to Suppress Statements (ECF

 No. 373) (Mot. for Hr’g), and an affidavit in support of his motion to suppress. Aff. in

 Supp. of Mot. to Suppress Statements. (ECF No. 373-1) (Def.’s Aff.). Mr. Ocean filed

 a reply to the Government’s response on February 29, 2016. Def.’s Reply to Gov’t’s

 Obj. to Def.’s Mot. to Suppress (ECF No. 380) (Def.’s Reply). The Government filed a

 sur-reply on March 21, 2016. Gov’t’s Sur-Reply in Obj. to Def.’s Am. Mot. to Suppress

 (ECF No. 398). The Court held an evidentiary hearing on Mr. Ocean’s motion to

 suppress on May 18, 2016. Entry (ECF No. 443) (Suppression Hr’g).

 II.    FINDINGS OF FACT2


 2      Mr. Ocean’s testimony from the suppression hearing, as well as his sworn affidavit, tell a story
 that conflicts in many material respects with the testimony provided by the Government’s three

                                                   3
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 4 of 23                          PageID #: 1764




 witnesses, Detectives Podsiad, Merced, and Kyle of the New Haven, Connecticut Police Department.
 After reviewing the record evidence and the testimony of the Detectives – whom the Court found to be
 credible witnesses – and comparing it with the testimony of Mr. Ocean, the Court accepts the
 testimony of the officers over the testimony of Mr. Ocean.
          First, in the affidavit submitted by Mr. Ocean – signed by him “under the pains and penalties
 of perjury” – Mr. Ocean stated that he told the Detectives after they had approached him that “it
 wasn't a good time because he was watching his young son inside the apartment,” and that he did not
 “consent for an interview and he felt that if he didn’t comply and walk to the vehicle, he would be taken
 to jail and his son would be left inside the residence alone.” Def.’s Aff. at 1. However, during the
 suppression hearing Mr. Ocean stated that his girlfriend and his cousin were in the house with his son
 when he was interviewed by the Detectives. See also Tr. at 21. The Detectives also stated they saw a
 female go inside as they approached the apartment. It appears his son would not be left alone.
          Mr. Ocean also asserted in his affidavit that Detective Podsiad told him while Mr. Ocean was
 standing on his porch that they “drove all the way up from New Haven, Connecticut, and they weren't
 leaving without answers.” Def.’s Aff. at 1. At the suppression hearing Mr. Ocean stated that Detective
 Podsiad told him that he could be on the winning team or the losing team, and that he believed he had
 no alternative other than talking to them in the car or he would be arrested. In contrast, all three
 Detectives testified that they never told Mr. Ocean that he had to speak with them in the vehicle,
 never told him that they would take him to jail if he did not talk to them, and never told him that they
 were not leaving without answers and never threatened him in any way. Later, on cross-examination,
 Mr. Ocean admitted that at no point in time did Detective Podsiad tell him he was going to arrest him,
 take him to jail, or search his home if he did not talk to them in the vehicle that day.
          At the hearing Mr. Ocean testified that Detective Podsiad told him when Mr. Ocean was on
 the porch that if he was on the losing team the Detective would kick down his door, throw in
 flashbangs, and take him by gunpoint in front of his son. The tape of the interview in the vehicle
 confirms the following interchange between Mr. Ocean and Detective Podsiad:

          Podsiad: Okay. Um, so this what kinda is gonna happen, all right? Um, we basically
          are doing these preliminary interviews like I said, we’ve been up here plenty of times,
          we’ve already picked up plenty of people and how it usually works on the federal side
          is this, we have information, you know from numerous interviews, um, you know, that
          says about you A, B, C, D whatever.
          Ocean: Yeah.
          Podsiad: We look at that and we’re like okay how bad is this person, do we, do we, is
          it something that we want to make him a defendant and sometimes when you become
          a defendant, we don’t even fucking tell ya, we just come kick in your door, throw a
          couple flash bangs, and drag you out at gunpoint.
          Ocean: I ain’t.
          Podsiad: You’re done. And that’s how we did Rico the other day.
          Ocean: Yeah, I heard, I don’t want no cause for that shit.
          Podsiad: Yeah, so well obviously we don’t think you’re that bad of a person cause we’re
          sitting here having this conversation.
          Ocean: Conversation.
 Tr. at 7. Later, the following interchange took place between Mr. Ocean and Detective Podsiad:

         Ocean: All right. So, do I gotta wait until someone come kicking in my door?
         Podsiad: No. That would have happened. We wouldn’t have come and done this.
         Ocean: All right yo. I appreciate it. I appreciate it . . . .
 Id. at 10. Detective Podsiad ended the interview by saying:


                                                    4
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 5 of 23                         PageID #: 1765




        In early September, 2014, as part of the investigation into the illegal activities

 of a New Haven, Connecticut based street gang known as the Red Side Guerilla Brims

 (RSGB), several officers and agents from the New Haven Police Department (NHPD)

 and the New Haven Office of the Bureau of Alcohol, Tobacco, Firearms and Explosives

 (ATF) travelled to Bangor, Maine to work with Maine Drug Enforcement Agency



          Podsiad: Have a good one and you’ll be hearing from somebody from around here,
          they’ll either drop a letter to you or whatever or they’ll come talk to you, but you don’t
          have to worry about getting your shit kicked in or none of that.
 Id. at 12.
          Juxtaposed, all three Detectives testified that Detective Podsiad would never make such
 statements in an effort to get someone to talk. Detective Podisad testified that was not something he
 would say to anybody that he was trying to get to cooperate with a criminal investigation. Moreover,
 Detectives Merced and Kyle testified that they had done numerous interviews with Detective Podsiad
 in their career and that they had never heard him use those types of incendiary terms when trying to
 persuade somebody to agree to an interview.
          In addition, the Court notes that Mr. Ocean did not make this accusation in his affidavit, and
 it is odd that Mr. Ocean’s recollections of these threats, which go to the heart of voluntariness, first
 came to light at the suppression hearing. These were experienced detectives; it is improbable that
 they would have this forceful, incendiary conversation across a distance with Mr. Ocean standing on
 his porch in a semi-public setting. Should anyone have overheard the conversation, it might have
 compromised Mr. Ocean’s potential cooperation and revealed him as a potential witness.
          Based on the interview in the vehicle, the Court concludes that Mr. Ocean misremembered
 when the discussion about kicking down the door took place. The Court finds that it took place not at
 the porch, but in the vehicle toward the end of the interview when Detective Podsiad was discussing
 what would happen next. As it in fact occurred in the vehicle in the middle of their conversation, the
 description of this forcible arrest did not affect Mr. Ocean’s decision to come to the vehicle and speak
 with the Detectives.
          In addition, Mr. Ocean testified that while they talked outside of his home Detective Podsiad
 told him that cooperating with them that day could lead to a proffer and immunity. The three
 Detectives testified that they never offered him immunity or the opportunity to proffer while talking
 outside his home, and Detective Podsiad said he would never discuss proffers or immunity while
 talking outside, as he would not have this type of conversation with a potential witness or defendant
 in an area open to public disclosure.
          Finally, Mr. Ocean also testified that he did not go back inside his home before joining the
 Detectives for the interview in their vehicle. Mr. Ocean said that while he was standing on his porch,
 he only opened the door, never stepping inside, and yelled that the Detectives were making him go to
 the car to talk to them. All three Detectives testified that, while they waited in his driveway, Mr.
 Ocean entered his home for a brief period before joining them in their vehicle. Also, the Court notes
 that it seems unlikely that if Mr. Ocean was so concerned about being seen and heard talking with
 law enforcement that he would yell through the door that he was going to talk to them in their vehicle
 instead of walking inside and relaying this information in private.
          For these reasons, the Court has accepted the testimony of the Detectives over the testimony
 of Mr. Ocean concerning the events leading to the taped discussion among Detective Podsiad, the other
 Detectives, and Mr. Ocean in the vehicle.


                                                    5
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 6 of 23          PageID #: 1766




 (MDEA) agents in conducting interviews and engaging in enforcement activity.

 Podsiad Aff. at 1. On the afternoon of September 4, 2014, Detectives Martin Podsiad,

 Josh Kyle, and Alberto Merced of the NHPD interviewed Mr. Ocean concerning his

 knowledge of the RSGB activity. Id.

       The Detectives were dressed in plain clothes, not wearing anything that

 identified them as police officers, and their service weapons were concealed under

 their clothing. Id. at 2. Their badges were on their belts. Suppression Hr’g. Not long

 after arriving at Mr. Ocean’s residence, while walking up the driveway, the

 Detectives observed Mr. Ocean and a woman on the porch of his apartment. Id. The

 woman went inside the apartment before the officers arrived.         Id.   Mr. Ocean

 remained standing on the porch and the three detectives arrived and stood in his

 driveway, approximately 10-15 feet away from Mr. Ocean. Id.

       Detective Podsiad told Mr. Ocean that they were police officers, that they were

 not there to arrest anyone, and that they simply wanted to talk. Podsiad Aff. at 2.

 Detective Podsiad explained to Mr. Ocean that they were from New Haven,

 Connecticut and were working on a federal investigation into some illegal activity in

 the Bangor and New Haven areas. Id. Detective Podsiad was the only detective who

 spoke to Mr. Ocean while the detectives stood in the driveway. Suppression Hr’g.

 Detective Podsiad provided Mr. Ocean with some additional details, and Mr. Ocean

 initially claimed that he did not know anything. Podsiad Aff. at 2. Detective Podsiad

 explained to Mr. Ocean that all he wanted to do was talk and that he was not there




                                           6
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 7 of 23           PageID #: 1767




 to arrest Mr. Ocean or search his residence. Id. Upon hearing this, Mr. Ocean

 indicated that he would talk to the Detectives. Id.

       When Detective Podsiad suggested that they get off the porch and talk in the

 apartment, Mr. Ocean indicated that he did not want to do that as his young son was

 inside. Id. When Detective Podsiad suggested that they just talk on the porch, Mr.

 Ocean expressed reluctance about standing on his porch and talking to the three

 Detectives. Id. Detective Podsiad then suggested that his vehicle was up the street

 and they could go sit in the vehicle and talk. Id. Mr. Ocean agreed, went into his

 residence for a moment, and then returned and walked up the street to the vehicle

 with Detectives Podsiad, Kyle, and Merced. Id. From the time the Detectives arrived

 in Mr. Ocean’s driveway to the time all four men entered the vehicle neither the

 Detectives nor Mr. Ocean raised their voices or argued. Suppression Hr’g.

       The vehicle Detective Podsiad was operating was not a marked patrol vehicle;

 it was an unmarked SUV rented by ATF. Podsiad Aff. at 2-3. The vehicle was parked

 on a public street within view of Mr. Ocean’s residence. Id. at 3. The vehicle was not

 equipped with a cage or automatically locking rear locks.        Id.   The doors were

 unlocked the entire time Mr. Ocean was in the vehicle. Suppression Hr’g.        There

 was nothing limiting Mr. Ocean’s ability to leave the vehicle once he entered. Podsiad

 Aff. at 3. Upon arriving at the vehicle, Detective Podsiad got in the driver’s seat and

 activated his recording device. Id. Detective Merced got in the front passenger seat,

 while Mr. Ocean and Detective Kyle got in the back seat. Id. Before entering the




                                           7
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 8 of 23              PageID #: 1768




 vehicle Mr. Ocean was not searched, and at no time was Mr. Ocean handcuffed or

 otherwise restrained. Id.

           In the vehicle Detective Podsiad told Mr. Ocean that they were investigating a

 case that spanned the last seven years, that Mr. Ocean had to “answer up” for

 everything during that time, and told Mr. Ocean not lie to him, as they were there to

 test his truthfulness. Tr. at 1. Detective Podsiad informed Mr. Ocean he could lie in

 two ways: (1) either directly, at which that point he would tell Mr. Ocean to “get the

 fuck out of my car, and we’ll see you in federal court,” or (2) by omission, by not telling

 him information that Mr. Ocean knew. Id. at 2. When discussing with Mr. Ocean

 his involvement in the drug conspiracy under investigation, Detective Podsiad asked

 Mr. Ocean not to minimize his estimates of the drug quantities that he sold or

 purchased and told Mr. Ocean that he was not building a drug case against him and

 that if they wanted to do a case on him, they already had enough to arrest him. Id.

 at 7-8.

           About half way through the interview Mr. Ocean asked if he was in trouble,

 and Detective Podsiad replied that he was not in trouble at that moment, but that he

 could potentially be and that was why the Detectives had come to talk to him. Id. at

 15. Also, in describing the investigation process, Detective Podsiad told Mr. Ocean

 that when they determine “how bad” a person is, sometimes if they “want to make

 him a defendant,” they “don't even fucking tell ya, we just come kick in your door,

 throw a couple flashbangs, and drag you out at gunpoint,” which was how they

 arrested one of Mr. Ocean’s now co-defendants a few days before coming to speak with



                                              8
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 9 of 23             PageID #: 1769




 Mr. Ocean. Id. at 19. Detective Podsiad followed this up by telling Mr. Ocean that

 “well obviously we don't think you're that bad of a person cause we're sitting here

 having this conversation.” Id.

       Detective Podsiad told Mr. Ocean that after their interview the Detectives

 would go speak with Assistant United States Attorney Joel Casey, who would decide

 whether Mr. Ocean is “worthwhile to use as a witness,” or if they “should go after him

 as a defendant.” Id. at 20. If he were to be made a defendant, Detective Podsiad

 described the prison sentence Mr. Ocean faced as “you could potentially be looking at

 like ten to fifteen years somewhere in Dakota.” Id. at 21. He then told Mr. Ocean

 that “so what is gonna happen is this, Joel Casey is probably gonna send out one of

 the local cops to deliver a letter to you. It's either gonna be a target letter or a grand

 jury subpoena. Either way, they're gonna provide you . . . with an attorney.” Id.

 Detective Podsiad then told Mr. Ocean that:

       The attorney is gonna advise you, you know, as to far as what you're
       looking the whole nine, and usually on the federal side . . . you get to
       proffer, and what the proffers states is, listen, we're sitting you down,
       we want to use you as a witness, they might have you cop out to some
       bullshit or whatever, well what they do is give you full immunity, all
       right, on anything you might have done, so they basically tell you this is
       your one time deal to tell us fucking everything you might have done
       wrong. The only way you could fuck up a proffer is if you lie.

 Id.

       Toward the end of the interview Mr. Ocean and Detective Podsiad had the

 following exchange:

       Ocean:        All right, um, can I go back home now and like?

       Podsiad:      We're gonna let you go.

                                             9
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 10 of 23             PageID #: 1770




        Ocean:       I'm just scared, like.

        Podsiad:     I just wanted to explain all of that to you.

        Ocean:       All right, so, do I gotta wait until someone come kicking in
                     my door?

        Podsiad:     No. That would have happened. We wouldn't have came
                     and done this.

        Ocean:       All right, yo, I appreciate it. I appreciate it. I be having my
                     son in here, and I am who I am, but I'm keeping it real,
                     yeah, I'm scared, that's some shit, like, I did my drugs or
                     whatever, but I ain't no into guns and no [kingpin] shit or
                     none of that shit. . . .

 Id. at 22.

        At one point during the conversation a marked sheriff’s vehicle drove past Mr.

 Ocean’s residence. Podsiad Aff. at 3; Tr. at 19-20. When Detective Podsiad asked

 Mr. Ocean if the sheriff’s office was looking for him, he indicated that it had

 something to do with his child support obligations. Podsiad Aff. at 3. Detective

 Podsiad did not alert the deputy driving the marked sheriff’s office vehicle that Mr.

 Ocean was sitting in the vehicle. Id.

        The conversation with Mr. Ocean in the vehicle lasted approximately twenty-

 five minutes. Id. When the conversation was over, Mr. Ocean let himself out of the

 vehicle and walked back to his residence. Id. During the time they were in the vehicle

 the Detectives asked Mr. Ocean questions, answered Mr. Ocean’s questions, and

 occasionally joked and made small talk. Id. Mr. Ocean never received any Miranda

 warnings. Def.’s Aff. at 2.

 III.   THE PARTIES’ POSITIONS

                                              10
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 11 of 23             PageID #: 1771




        A.     Mr. Ocean’s Amended Motion to Suppress

        Based on the totality of the circumstances analysis set out in Berkemer v.

 McCarty, 468 U.S. 420, 442 (1984), Mr. Ocean argues that “it is very likely that the

 court would find that when a person is compulsorily removed from his home for an

 interrogation into the back of a police vehicle, and then threatened with violence and

 federal prison time without cooperation, that he was certainly in custody for Miranda

 purposes.” Def.’s Am. Mot. at 3. Citing caselaw, Mr. Ocean lists factors to determine

 whether someone is in custody under Miranda:

        The time, place, and purpose of the encounter; the persons present
        during the interrogation; the words spoken by the officer to the
        defendant; the officer’s tone of voice and general demeanor; the length
        and mood of the interrogation; whether any limitation of movement or
        other form of restraint was placed on the defendant during the
        interrogation; the officer’s response to any questions asked by the
        defendant; whether directions were given to the defendant during the
        interrogation; and the defendant’s verbal or nonverbal response to such
        directions.

 Id. at 3-4 (collecting cases).

        Mr. Ocean notes a “split in authority” on “whether, when questioning an

 individual in the back of a police car, the individual is considered to be ‘in custody’ to

 require a reading of Miranda rights.” Id. at 4. Citing Fourth and Sixth Circuit

 caselaw, Mr. Ocean argues that the totality of the circumstances and the reasonable

 person test make clear that “a reasonable person would not feel free to leave nor did

 the detectives have any inclination to let him leave until he was finished answering

 their questions.” Id. at 5. Mr. Ocean concludes that, considering that the detectives

 “persistently interrogated [him],” “[t]he entire examination was very intense and full



                                            11
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 12 of 23           PageID #: 1772




 of threats,” and that he was “not free to leave,” he was in custody under Miranda,

 and because he was not advised of his rights under Miranda, any statements he made

 must be suppressed. Id. at 5-6.

        Further, Mr. Ocean contends that even if his Miranda rights were not violated,

 his statements are inadmissible because they were made involuntarily. Id. at 6

 (citing United States v. Chalan, 812 F.2d 1302, 1307 (10th Cir. 1987)). He contends

 that a confession is involuntary if it is not “the product of a rational intellect and a

 free will,” id. (quoting Mincey v. Arizona, 437 U.S. 385, 398 (1978)), and that coercive

 police conduct is a necessary predicate to finding involuntariness. Id. (citing Colorado

 v. Connelly, 479 U.S. 157, 167 (1986)). Mr. Ocean contends his statements were a

 product of threats of violence and harsh prison terms, as well as false representations

 of the law and false promises, and as such was involuntary and must be suppressed.

 Id. at 8.

        B.    The Government’s Response

        Citing an abundance of Supreme Court and First Circuit caselaw on the

 Miranda doctrine and the issue of custody, Gov’t’s Opp’n at 4-7, the Government

 asserts that the affidavit of Detective Podsiad and the audio recording and transcript

 of the September 4, 2014 interview of Mr. Ocean demonstrate that he was not in

 custody during the interview in the vehicle. Id. at 7. Specifically, the Government

 contends that the Detectives only conducted the interview in the vehicle after Mr.

 Ocean indicated he would feel more comfortable talking there, that he was not

 searched or handcuffed at any point during the conversation, that the vehicle was



                                           12
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 13 of 23          PageID #: 1773




 parked, and that it was a unmarked rental vehicle with no security cage and no

 impediments to Mr. Ocean leaving. Id. Moreover, the Government asserts that the

 tone of the conversation was convivial, that the officers never hollered at, berated or

 threatened Mr. Ocean, that Detective Podsiad asked the majority of the questions,

 and at the end of the conversation Mr. Ocean left the vehicle of his own will. Id. The

 Government argues that the facts presented here are very similar to those in United

 States v. Poland, No. CRIM. 05-69-P-H, 2006 WL 163409, *4-5 (D. Me. Jan. 19, 2006),

 report and recommendation adopted, 2006 WL 1030097 (D. Me. Apr. 14, 2006), where

 the District of Maine denied a defendant’s motion to suppress his statements. Id.

       C.     Mr. Ocean’s Reply

       In response to the Government, Mr. Ocean filed an affidavit attesting to his

 version of the events that transpired on September 4, 2014, and filed a motion

 asserting that his affidavit creates a factual dispute that requires a hearing on the

 issue. Mot. for Hr’g at 1; Def.’s Aff. at 1-2. In his reply to the Government’s motion,

 Mr. Ocean submitted “no further argument or evidence on this issue.” Def.’s Reply at

 1.

       D.     The Government’s Sur-Reply

       In response to Mr. Ocean’s argument that his confession was involuntary, the

 Government asserts that there is nothing in his affidavit to support his contention

 that he was led to believe that “if he didn’t cooperate and confess that he would be

 thrown in a federal prison; alternately if he did cooperate, he was led to believe he

 would be offered immunity and that the detectives would build their case on a



                                           13
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 14 of 23            PageID #: 1774




 different individual and leave him alone.” Gov’t’s Sur-Reply at 2 (citing Def.’s Am.

 Mot. at 8). The Government contends that other than Mr. Ocean’s argument, “there

 is no objective evidence that the defendant was threatened, subjected to violence, or

 made promises by the officers who interviewed him such that his will was overborn.”

 Id.

 IV.   DISCUSSION

       The government bears the burden of proving Miranda compliance, United

 States v. Barone, 968 F.2d 1378, 1384 (1st Cir. 1992), and the voluntariness of a

 confession. United States v. Jackson, 918 F.2d 236, 241 (1st Cir. 1990).

       A.     Asserted Miranda Violation

       “In criminal trials, in the courts of the United States, wherever a question

 arises whether a confession is incompetent because not voluntary, the issue is

 controlled by that portion of the Fifth Amendment . . . commanding that no person

 ‘shall be compelled in any criminal case to be a witness against himself.’” Bram v.

 United States, 168 U.S. 532, 542 (1897). In Miranda v. Arizona, 384 U.S. 436 (1966),

 the Supreme Court established “rules of police procedure applicable to ‘custodial

 interrogation.’” Oregon v. Mathiason, 429 U.S. 492, 494 (1977). It held that “the

 prosecution may not use statements, whether exculpatory or inculpatory, stemming

 from custodial interrogation of the defendant unless it demonstrates the use of

 procedural safeguards effective to secure the privilege against self-incrimination.”

 Miranda, 384 U.S. at 444. From there, the Court prescribed the classic “Miranda

 warning,” requiring that any custodial interrogation be preceded with cautionary



                                          14
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 15 of 23         PageID #: 1775




 advice that the suspect has “a right to remain silent, that any statement he does make

 may be used as evidence against him, and that he has a right to the presence of an

 attorney, either retained or appointed.” Id.

       The Miranda warning was deemed necessary to combat the “‘compelling

 pressures’ inherent in custodial police interrogation” and safeguard the Fifth

 Amendment. Dickerson v. United States, 530 U.S. 428, 440 (2000) (quoting Miranda,

 384 U.S. at 467). However, for Miranda warnings to be required the individual must

 be in custody; noncustodial questioning requires no warning. Mathiason, 429 U.S. at

 495; United States v. Quinn, 815 F.2d 153, 160 (1st Cir. 1987). Thus, for Mr. Ocean’s

 motion to succeed on the basis of a Miranda violation, he must have been in custody

 at the time of his unwarned statements. United States v. Hughes, 640 F.3d 428, 435

 (1st Cir. 2011).

       For a suspect to be in custody, he must be subject to either formal arrest or an

 equivalent restraint on his freedom of movement. California v. Beheler, 463 U.S.

 1121, 1125 (1983); Mathiason, 429 U.S. at 495. The restraint imposed on a suspect's

 movement need not be physical. Custody may arise where the suspect is “otherwise

 deprived of his freedom of action in any significant way,” including through the

 imposition of psychological pressures. United States v. Rogers, 659 F.3d 74, 77 (1st

 Cir. 2011) (quoting Miranda, 384 U.S. at 444). “Significant deprivation occurs in

 circumstances carrying a ‘badge of intimidation,’ or ‘inherent compulsions,’” id.

 (quoting Miranda, 384 U.S. at 457, 467), “or as the Supreme Court later put it, in

 circumstances that ‘blur[ ] the line between voluntary and involuntary statements,



                                          15
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 16 of 23                     PageID #: 1776




 and thus heighten[ ] the risk’ that the Fifth Amendment privilege will not be

 appreciated.” Id. at 77-78 (quoting Dickerson, 530 U.S. at 435).

        Two objective tests are prescribed to assist in the task of differentiating

 between scenarios that would, or would not, be custodial in nature. Initially, courts

 consider “whether a reasonable person in the circumstances would have felt ‘at liberty

 to terminate the interrogation and leave.’” Id. at 78 (quoting Thompson v. Keohane,

 516 U.S. 99, 112 (1995)).          If not, then the second inquiry is “whether those

 circumstances would have been likely to coerce a suspect to engage in back and forth

 with the police, as in the paradigm example of traditional questioning.” Id. (quoting

 Berkemer, 468 U.S. at 436-37).

        Under the first, reasonable person test, “[a]mong the factors to consider” in

 making a Miranda custody determination “are whether the suspect was questioned

 in familiar or at least neutral surroundings,”3 “the number of law enforcement officers

 present at the scene,” “the degree of physical restraint placed upon the suspect,”4 and

 “the duration and character of the interrogation.”5 United States v. Nishnianidze,

 342 F.3d 6, 13 (1st Cir. 2003) (internal citations and quotations omitted). Relevant

 factors also include the statements made during the interview, Mathiason, 429 U.S.

 at 495,6 and the release of the interviewee at the end of the questioning. See Beheler,

 463 U.S. at 1122-23.




 3       See also Maryland v. Shatzer, 559 U.S. 98, 110-115 (2012).
 4       See also New York v. Quarles, 467 U.S. 649, 655 (1984).
 5       See also Berkemer, 468 U.S. at 437-438.
 6       See also Yarborough v. Alvarado, 541 U.S. 652, 665 (2004); Stansbury v. California, 511 U.S.
 318, 325 (1994).

                                                 16
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 17 of 23             PageID #: 1777




        “Not all restraints on freedom of movement amount to custody for purposes of

 Miranda.” Howes v. Fields, 132 S. Ct. 1181, 1189 (2012). If a reasonable person in

 the circumstances would not feel at liberty to terminate the interrogation and leave,

 the question becomes whether an objective person would have felt coerced to engage

 in a back and forth with the police. Rogers, 659 F.3d at 77; see also Shatzer, 559 U.S.

 at 112.

        Questioning of a suspect in a police vehicle does not automatically render a

 suspect “in custody.” United States v. Speal, No. 97–3344, 1998 WL 886757, at *5

 (10th Cir. Dec. 21, 1998); United States v. Murray, 89 F.3d 459, 462 (7th Cir. 1996).

 Rather, courts have considered, inter alia, such factors as whether the car was

 unmarked, unlocked, or stationary, whether the suspect was physically restrained,

 whether the police car was located in a public or familiar (versus isolated) setting,

 the length and tone of the interview, and the number of officers conducting it. See,

 Speal, 1998 WL 886757, at *5 (suspect not “in custody” during pre-Miranda detention

 in patrol car following traffic stop when (i) there was no evidence of coercion by officer,

 (ii) conversation took place in front seat of patrol car on shoulder of public highway

 during day, (iii) conversation was not excessive in length, (iv) suspect was not

 handcuffed and within eyesight of his companion, whom he had witnessed being

 questioned and released, and (v) windy, chilly conditions justified relocation); United

 States v. McKinney, 88 F.3d 551, 553-55 (8th Cir. 1996), overruled on other grounds

 by United States v. LeBrun, 363 F.3d 715 (8th Cir. 2004) (suspect not “in custody”

 when he was questioned for brief period in backseat of sheriff's car outside his home,



                                             17
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 18 of 23          PageID #: 1778




 he was not handcuffed, there was no evidence he was unable to open car doors, he did

 not invite officers into his home upon arrival despite rain, and he willingly sat in

 sheriff's car); United States v. Rainbow, 380 F. Supp. 2d 1071, 1078-79 (D.N.D. 2005)

 (18-year-old suspect not “in custody” during questioning in unmarked sport utility

 vehicle parked in his driveway when (i) he was informed at outset he was not in

 custody or under arrest, would not be arrested and could terminate interview at any

 time, (ii) he was not handcuffed, escorted or placed into vehicle but rather walked out

 of his home without restraint and got into it, (iii) doors to vehicle were unlocked and

 (iv) interview was cordial and voluntary); United States v. Luchetti, No. 11-CR-143A,

 2012 WL 6949520, at *5 (W.D.N.Y. Aug. 10, 2012) (“the fact that the interview took

 place in a vehicle owned by [law enforcement] does not, without more, require a

 finding that any statements made by the defendant were the subject of a custodial

 interrogation”); Poland, 2006 WL 163409, at *4-5 (defendant not in custody during

 interview in unmarked vehicle outside of his residence where defendant agreed to

 speak to officer in vehicle and officers did not tell him he was not free to leave;

 “[q]uestioning of a suspect in a police vehicle does not automatically render a suspect

 ‘in custody’”).

        The Court concludes that Mr. Ocean was not in custody while being

 interviewed by the Detectives.      The circumstances of this case have a strong

 similarity to those in Poland, where the District of Maine found the defendant was

 not in custody during an interview in a law enforcement vehicle. 2006 WL 163409,

 at *1-3. In Poland two officers approached the home of the defendant and then



                                           18
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 19 of 23           PageID #: 1779




 suggested interviewing him in their vehicle. Id. Neither officer told the defendant

 he was not free to leave, the defendant was never handcuffed, he was not placed in

 the vehicle by the officers, and was not physically restrained in any other respect. Id.

 The doors were unlocked, the vehicle was unmarked, and it was parked in the

 defendant’s driveway within sight of the defendant’s home. Id. The defendant was

 questioned by two officers, one in full uniform with holstered weapon, the interview

 lasted no more than half an hour, and there is no evidence the officers adopted “a

 belligerent tone.” Id. at *5. In one respect the situation in Poland was more like

 custody than Mr. Ocean’s case. One of the officers in Poland was in uniform and wore

 a holstered, but visible firearm. Id.

       Here, the Detectives were dressed in plain clothes and their service weapons

 were concealed under their clothing. Because Mr. Ocean expressed reluctance about

 talking on his porch, Detective Podsiad suggested that they could go sit in the vehicle

 and talk, to which Mr. Ocean agreed. The vehicle was an unmarked SUV rented by

 ATF, parked on a public street within view of Mr. Ocean’s residence, was not equipped

 with a cage or automatically locking rear locks, the doors were unlocked the entire

 time, and there was nothing limiting Mr. Ocean’s ability to leave the vehicle. Prior

 to entering the vehicle Mr. Ocean was not searched, and at no time was Mr. Ocean

 handcuffed or otherwise restrained. None of the officers told Mr. Ocean that he was

 not free to leave and, in fact, one of the Detectives told Mr. Ocean that if he did not

 tell the truth, he would have to leave the vehicle. The interview in the vehicle lasted

 approximately twenty-five minutes.      The audiotape contains no suggestion that



                                           19
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 20 of 23                        PageID #: 1780




 either the Detectives or Mr. Ocean raised their voices, argued, or “adopted a

 belligerent tone.” Id. When the conversation was over, Mr. Ocean let himself out of

 the vehicle and walked back to his home. Further, having reviewed the transcript

 and listened to the recording from the interview, the Court concludes that the tone of

 the conversation was generally cordial and respectful. Indeed, there were a few

 points where jokes were made and the Detectives and Mr. Ocean laughed together.7

 See Tr. at 4, 6, 19-20.8

        Additionally, Detective Podsiad told Mr. Ocean that the interview was in part

 a means to test his truthfulness and viability as a potential witness, and, as noted

 earlier, that if Mr. Ocean lied to him he would tell him to “get the fuck out of [the]

 car” and would see him “in federal court.” Telling Mr. Ocean he would be asked to

 leave the car if he lied indicates that Mr. Ocean could thus leave under his own free

 will. Also, the Court does not find the section of the interview where Detective

 Podsiad describes arresting Mr. Ocean’s co-defendant at gunpoint to be a threat, as

 he concludes by telling Mr. Ocean “obviously we don't think you're that bad of a

 person cause we're sitting here having this conversation.” Tr. at 19. Likewise,

 Detective Podsiad’s discussion of potential jail time, proffers, and immunity were

 conveyed as a hypothetical, in a non-threatening tone, and as Detective Podsiad



 7       At one point during the interview a deputy sheriff drove by Mr. Ocean’s house. Tr. at 19. Mr.
 Ocean stated the sheriff was probably looking for him regarding a child support obligation and
 Detective Kyle joked that “you can hide in here for a minute,” with Mr. Ocean thanking him and
 laughing. Id. at 20.
 8       During his testimony at the suppression hearing, Mr. Ocean described the conversation in
 front of his porch as taking place in a fashion that stands in sharp contrast with the transcript and
 recording of the conversation that took place immediately after in the Detective’s vehicle. See footnote
 2, supra. The Court is skeptical that the discussion so quickly went from hostile to conversational.

                                                   20
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 21 of 23        PageID #: 1781




 testified to at the hearing, was a means of providing Mr. Ocean with information so

 he had a better understanding of the legal system and the potential outcomes of their

 interview. Suppression Hr’g.

       On a final note, in responding to Mr. Ocean’s question at the end of the

 interview whether he could “go back home now,” Detective Podsiad said “we’re going

 to let you go.” However, as discussed, leading up to this point the record does not

 show that Mr. Ocean was in custody. Indeed, Detective Podsiad followed up by saying

 “I just wanted to explain all of that to you.” The record shows that a reasonable

 person in Mr. Ocean’s circumstances would have felt at liberty to terminate the

 interview and leave the vehicle at any time.

       The Court does not mean to suggest that the Detectives and Mr. Ocean were

 merely passing the time of day. This was not a social conversation. The Detectives

 told Mr. Ocean up front that they were investigating drug dealing in the Bangor,

 Maine area and that they knew he was involved. Mr. Ocean had every right to be

 nervous, even—as he said—scared, and the Detectives let him know in no uncertain

 terms that they were interviewing him as part of their investigation. They also told

 him that he could be subject to very serious federal charges.

       But the first narrow question here is whether Mr. Ocean was in custody as the

 law defines it and the Court concludes that he was not.

       B.     Voluntariness of Confession

       Involuntary confessions violate the due process clauses of the Fifth and

 Fourteenth amendments. United States v. Genao, 281 F.3d 305, 310 (1st Cir. 2002).



                                          21
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 22 of 23          PageID #: 1782




 In responding to Mr. Ocean’s assertion that his confession was extracted

 involuntarily, the Government bears the burden of showing, based on the totality of

 the circumstances, that the investigating agents neither “broke” nor overbore his will.

 Chambers v. Florida, 309 U.S. 227, 239-40 (1940). As such, “coercive police activity

 is a necessary predicate to the finding that a confession is not ‘voluntary.’” Colorado

 v. Connelly, 479 U.S. 157, 167 (1986); see also Rice v. Cooper, 148 F.3d 747, 750 (7th

 Cir. 1998) (in context of voluntariness of confession, “[t]he relevant constitutional

 principles are aimed not at protecting people from themselves but at curbing abusive

 practices by public officers”) (citation omitted).

       Based on the totality of the circumstances, the Court concludes that Mr.

 Ocean’s confession was voluntary and that his will was not overborn by abusive police

 practices. As discussed, the record does not show that at any point there were threats

 of violence or immediate imprisonment, nor in the alternative is there a suggestion

 from law enforcement that if Mr. Ocean did cooperate, he would be offered immunity

 from prosecution. Mr. Ocean voluntarily accompanied the Detectives to their vehicle,

 the interview was less than thirty minutes, the tone was cordial and respectful, and

 Mr. Ocean could have left the vehicle at any time.

 V.    CONCLUSION

       The Court DENIES Mr. Ocean’s Amended Motion to Suppress (ECF No. 281).

       SO ORDERED.


                                          /s/ John A. Woodcock, Jr.
                                          JOHN A. WOODCOCK, JR.
                                          UNITED STATES DISTRICT JUDGE

                                             22
Case 1:15-cr-00040-JAW Document 487 Filed 06/09/16 Page 23 of 23   PageID #: 1783




 Dated this 9th day of June, 2016




                                      23
